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                        IN THE UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF COLUMBIA


Angelica CASTAÑON, et al.,

          Plaintiffs,

          v.                                                   Case No. 1:18-cv-2545
                                                               (RDM, RLW, TNM)
The UNITED STATES OF AMERICA,
et al.,

          Defendants.




    [PROPOSED] ORDER DENYING DEFENDANTS’ MOTION TO DISMISS AND
        GRANTING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          Upon consideration of Plaintiffs’ Amended Complaint, Defendants’ Memorandum in

Support of their Motion to Dismiss the Amended Complaint, Plaintiffs’ Memorandum of Law in

Opposition to Defendants’ Motion to Dismiss and in Support of Plaintiffs’ Motion for Summary

Judgment, and the entire record, it is hereby

          ORDERED that Defendants’ Motion to Dismiss is DENIED; and it is further

          ORDERED that Plaintiffs’ Motion for Summary Judgment is GRANTED; and it is

further

          DECLARED that individual Plaintiffs, in common with all adult citizens of the District

of Columbia, possess a constitutional right to vote in elections for voting members of the United

States House of Representatives and the United States Senate; that they have been deprived of

this right without warrant or justification; that Defendants have violated this right; that the

continuing deprivation of this right violates one of the most precious attributes of United States

citizenship; and that 2 U.S.C. § 2a and 13 U.S.C. § 141 are unconstitutional insofar as they
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require or have been applied to effect the exclusion of citizens of the District of Columbia from

the Congressional apportionment process; and it is further

       DECLARED that the Delegate to the House of Representatives for the District of

Columbia, as the duly elected representative of the United States citizens residing in the District

of Columbia, has the full powers and privileges afforded to Members of the House of

Representatives, including without limitation the power to vote on all legislation considered by

the House; and it is further

       ORDERED that Congress shall fashion a constitutional remedy that will vindicate the

constitutional rights of the citizens of the District of Columbia to vote for members of the United

States Senate.

       SO ORDERED.


Entered this ___ day of ________________, 2019.

                                                             ___________________________

                                                             The Honorable Robert L. Wilkins
                                                             United States Circuit Judge


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                                                             The Honorable Randolph D. Moss
                                                             United States District Judge

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                                                             The Honorable Trevor N. McFadden
                                                             United States District Judge
